OPINION — AG — THE RESULT OF A READING OF RADAR EQUIPMENT IS ADMISSIBLE, IN A PROPER CASE AS EVIDENCE OF THE SPEED OF AN AUTOMOBILE IF, BUT ONLY IF, THE SCIENTIFIC ACCURACY OF SUCH EQUIPMENT AS A MEANS OF MEASURING THE SPEED OF AN AUTOMOBILE IS ESTABLISHED IN SAID CASE BY COMPETENT EXPERT TESTIMONY, AND WE DO NOT BELIEVE THE COURTS OF OKLAHOMA (AT THIS TIME CIRCA 1955) TAKE JUDICIAL NOTICE OF THE ACCURACY OF RADAR EQUIPMENT FOR SAID PURPOSE. CITE: 22 O.S.H. 702, 47 O.S.H. 121.1 (JAMES P. GARRETT)